Case 2:14-cv-11916-GCS-SDD ECF No. 30, PagelD.577 Filed 03/31/15 Page 1 of 16

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN

SOUTHERN DIVISION
NATALIE REESER,
Case No.: 2:14-cv-11916-GCS-MJH
Plaintiff,
Hon. George Caram Steeh
Vv.
HENRY FORD HOSPITAL,
Defendant.
/
MILLER COHEN, P.L.C. VARNUM LLP
Keith D. Flynn (P74192) Terrance J. Miglio (P30541)
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PLAINTIFE’S MOTION TO ENFORCE SUBPOENA, EXTEND
DISCOVERY FOR THE SOLE PURPOSE OF TAKING JILL HOOD’S
DEPOSITION, AND TO COMPEL HER ATTENDANCE AT THAT
DEPOSITION

NOW COMES Plaintiff Natalie Reeser, by and through her attorneys,
MILLER COHEN, P.L.C., with her Motion to Enforce Subpoena, Extend Discovery
for the Sole Purpose of Taking Jill Hood’s Deposition and to Compel Her

Attendance at that Deposition, and states as follows:
Case 2:14-cv-11916-GCS-SDD ECF No. 30, PagelD.578 Filed 03/31/15 Page 2 of 16

I. Plaintiff filed this lawsuit alleging that she was retaliated against for
asserting her rights under the Fair Labor Standards Act and for reporting or
threatening to report her former employer, Defendant Henry Ford Hospital, to the
State of Michigan for failing to compensate her for lunches she was forced to work.

2. One of the instrumental managerial employees responsible for the
investigation of Plaintiff’s claims and her ultimate termination is a former Human
Resource manager, Jill Hood.

3. Defendant stated in its Initial Disclosures that all current and former
managerial employees are only to be contacted through Defendant’s counsel.
(Exhibit A)

4. Plaintiff requested dates for Ms. Hood’s deposition on December 4,
2014, pursuant to the instructions in Defendant’s Initial Disclosures. (Exhibit B)

5. Defendant did not respond with dates for Ms. Hood until January 26,
2015. Defendant’s counsel indicated that Ms. Hood was no longer employed by
Defendant, but that Defendant had reached out to her to request her availability.
(Exhibit C)

6. Plaintiff did not hear anything back from Defendant regarding Ms.
Hood’s deposition until mid-February. Plaintiff provided the following dates:

March 19-27. (Exhibit D)
Case 2:14-cv-11916-GCS-SDD ECF No. 30, PagelD.579 Filed 03/31/15 Page 3 of 16

7. Defendant did not respond. Instead of waiting yet another two months
to receive a date for Ms. Hood’s deposition, Plaintiff unilaterally noticed Ms. Hood’s
deposition for March 23, 2015.

8. Plaintiff served the subpoena and deposition notice on Ms. Hood c/o
Defendant’s counsel pursuant to Defendant’s instructions that all correspondence
must be made with former managerial employees through Defendant’s counsel along
with Defendant’s counsel’s representations that he was working to arrange dates for
Ms. Hood’s deposition. (Exhibit E)

9. Due to scheduling difficulties in working out a date that Defendant’s
counsel would be able to depose Plaintiff, Plaintiff agreed to move Ms. Hood’s
deposition to March 27". Plaintiff served a re-notice to that effect. (Exhibit F)

10. Two days before Ms. Hood’s deposition, Defendant’s Counsel emailed
Plaintiff indicating that Ms. Hood was only available in the morning. (Exhibit G)

11. The undersigned indicated to Defendant’s counsel that a full day would
likely be necessary. (Exhibit H) Even though Ms. Hood was under subpoena to
attend, Plaintiff attempted to accommodate Ms. Hood’s schedule stating that the
following Monday was available. (Id.) Plaintiff received no word for the remainder
of the day.

12. Plaintiff followed up the next day on March 26"—a day before Ms.

Hood’s deposition—stating:
Case 2:14-cv-11916-GCS-SDD ECF No. 30, PagelD.580 Filed 03/31/15 Page 4 of 16

Terrence:

I have a court reporter waiting on standby. I would like to
accommodate Ms. Hood’s schedule as much as possible and I
certainly hope to provide the court reporter with notice of this
change as soon as possible. However, I cannot reschedule Ms.
Hood’s deposition without your confirmation that I will be able
to depose Ms. Hood on another mutually convenient date without
running afoul of the Court’s Scheduling Order. I need an answer
as soon as possible regarding Ms. Hood’s availability or
Defendant’s willingness to sign a stipulated order today
extending the discovery period for the sole purpose of taking Ms.
Hood’s deposition.

If I do not hear back from you by 2pm, I cannot reschedule the
deposition. I will continue under the assumption that Ms. Hood
will appear for the full-day deposition scheduled for tomorrow
that I requested over a month ago.
Please advise.
Thanks.
- Keith

(Exhibit D)

13. Plaintiff followed up later in the day by calling Defendant’s counsel’s
office. Defendant’s counsel’s paralegal communicated a message from Defendant’s
counsel that the deposition WAS NOT going forward on March 27", that
Defendant’s Counsel had reached out for other available dates, and that he would
agree to stipulate to extend the discovery period for the sole purpose of taking Ms.

Hood’s deposition. (Id.) In response, Plaintiff forwarded a proposed stipulated order.

(Id.)
Case 2:14-cv-11916-GCS-SDD ECF No. 30, PagelD.581 Filed 03/31/15 Page 5 of 16

14. Based on this assurance, Plaintiff informed the court reporter that the
deposition on March 27" was cancelled.

15. Plaintiff did not receive a response until after prompting Defendant’s
counsel the very next day noting the impending discovery cutoff. (Exhibit J)
Defendant’s counsel attempted to hold the discovery extension that the parties had
agreed to the day before hostage to moving the summary judgment deadline.
(Exhibit K) At the same time, Defendant proposed dates for Ms. Hood’s deposition,
including May 5". (Exhibit L) Plaintiff's counsel stated that he would re-notice the
deposition for May 5". (Id.)

16. Plaintiff questioned the necessity of changing the dispositive motion
deadline and asked Defendant’s counsel to clarify Defendant’s position. About three
hours went by without a response, so Plaintiff's counsel emailed Defendant’s
counsel with a new stipulated order that changed the requested discovery extension
to a stipulation that the parties agreed to depose Ms. Hood on May 5" after the
discovery deadline. (Exhibit M)

17. Defendant’s Counsel changed his mind. While he indicated that he
would allow Plaintiff to depose Ms. Hood after the discovery cutoff, he was
unwilling to enter into a stipulated order to that effect and believed that an email was

sufficient to memorialize the parties’ agreement. (Exhibit N)
Case 2:14-cv-11916-GCS-SDD ECF No. 30, PagelD.582 Filed 03/31/15 Page 6 of 16

18. Then, in a later email, he indicated that he did not control Ms. Hood
and would not enter into a stipulated order requiring that her deposition be taken on
a particular date nor would he require that she appear, even though the date listed
was one of the dates proposed by Ms. Hood and Defendant’s counsel—May Sth.
(Exhibit O)

19. Plaintiff confronted Defendant’s counsel on this point. (Exhibit P)
After all, throughout this lawsuit Defendant has taken the position that it would
accept service on behalf of former managerial employees and that correspondence
must be made through Defendant’s counsel. It was Defendant’s counsel who stated
that the deposition on March 27" was not going to go, when less than a day before

that Ms. Hood was available for half a day. Plaintiff also noted that written

promises without a Court Order are insufficient.

20. Defendant’s Counsel wrote back that he refused to sign the stipulated
order. (Id.) In a separate email, Defendant’s Counsel stated that Ms. Hood is a former
managerial employees who is “within the scope of our representation”, but that he
would only facilitate her appearance. (Exhibit QO)

21. Nonetheless, Defendant’s Counsel went on to state that he had authority
to accept service of the subpoena on Ms. Hood’s behalf. (Exhibit R)

22. In an effort to cooperate, Plaintiff re-wrote the stipulated order to only

provide that the deposition would take place after discovery pursuant to the Federal
Case 2:14-cv-11916-GCS-SDD ECF No. 30, PagelD.583 Filed 03/31/15 Page 7 of 16

Rules of Civil Procedure and that Plaintiff could subpoena the witness through
Defendant’s counsel. (Exhibit S)

23. As of the time of filing, the parties have not agreed to a satisfactory
stipulated order.

24. On March 30, 2015, Plaintiff re-noticed the deposition for May 5, 2015
at 10am at the office of MILLER COHEN, P.L.C. pursuant to Defendant’s assertion
that this date was available. (Exhibit U)

25. The current deadline for the close of discovery is April 6, 2015. [Dkt.
No. 22] The Court entered a Scheduling Order on July 17, 2014, which stated that
“The Court will not order discovery to take place subsequent to the discovery cutoff
date. Parties may agree to extend the discovery deadline by filing a stipulation with
the Court; no motion is required.” [Dkt. No. 10]

26. The Parties are required to follow the Court’s Scheduling Order—
depositions noticed prior to the discovery cutoff that are set to occur after the
discovery deadline found in a Scheduling Order may not be enforced. See e.g.,
Watkins v. New Albany Plain Local Sch., No. 2:08-CV-0134, 2010 WL 910256, at
*2 (S.D. Ohio Mar. 10, 2010)(attached as Exhibit V)

27. It 1s for this reason why Plaintiff insisted that Defendant agree to a
stipulated order extending the discovery deadline prior to rescheduling Ms. Hood’s

deposition.
Case 2:14-cv-11916-GCS-SDD ECF No. 30, PagelD.584 Filed 03/31/15 Page 8 of 16

28. Due to Plaintiff's efforts to cooperate with Ms. Hood’s schedule and
Defendant’s refusal to honor its earlier agreement that was the basis for rescheduling
Ms. Hood’s deposition, Plaintiff is now forced to file a motion to protect her right to
depose an important witness.

29. Plaintiff requests that this Court extend the discovery deadline for the
sole purpose of deposing Ms. Hood. Additionally, Plaintiff is also requesting that
this Court enforce the subpoena that Plaintiff had issued scheduling Ms. Hood’s
deposition pursuant to FED. R. Civ. Pro. 45. Considering Defendant’s refusal to
agree to require Ms. Hood’s attendance, the numerous scheduling issues,
Defendant’s gamesmanship, and the importance of this witness, Plaintiff is
requesting that this Court order that she appear on May 5" to prevent any further
issues. According to Defendant’s assertions, Ms. Hood is available for her deposition
on May 5", so such an order should cause no undue burden, prejudice, or expense.

30. Plaintiffrequested, but has not yet received, concurrence in this motion.
Consequently, Plaintiff ts also requesting costs and sanctions for Defendant’s
frivolous refusal.

WHEREFORE Plaintiff is requesting that Jill Hood be ordered to appear for
her deposition on May 5th and provide documents described in the subpoena duces
tecum, that discovery be extended to allow for Ms. Hood’s deposition, and that costs

and sanctions be awarded for Plaintiff being forced to file this Motion.
Case 2:14-cv-11916-GCS-SDD ECF No. 30, PagelD.585 Filed 03/31/15 Page 9 of 16

Respectfully submitted,
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Dated: March 31, 2015
Case 2:14-cv-11916-GCS-SDD ECF No. 30, PagelD.586 Filed 03/31/15 Page 10 of 16

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN

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BRIEF IN SUPPORT OF PLAINTIFF’S MOTION TO ENFORCE
SUBPOENA, EXTEND DISCOVERY FOR THE SOLE PURPOSE OF
TAKING JILL HOOD’S DEPOSITION, AND TO COMPEL HER
ATTENDANCE AT THAT DEPOSITION

Case 2:14-cv-11916-GCS-SDD ECF No. 30, PagelD.587 Filed 03/31/15 Page 11 of 16

TABLE OF CONTENTS
Page
STATEMENT OF ISSUES PRESENTED \Q.0....cccssssessssesssscssscvessecssssssevseccensesseee ii
INDEX OF AUTHORITIES ...ccceccsscsssssssssssssssssssssssseecsesssnssneceenssacareeseeernsnevsees iii
CERTIFICATE OF SERVICE

INDEX OF EXHIBITS
Case 2:14-cv-11916-GCS-SDD ECF No. 30, PagelD.588 Filed 03/31/15 Page 12 of 16

STATEMENT OF ISSUES PRESENTED

l. Should the Court enforce the subpoena duces tecum for Ms. Jill Hood’s
deposition and order Ms. Hood to appear for her deposition on May 5%?

Plaintiff answers, “Yes.”

2. Should the Court extend discovery for the sole purpose of taking Ms.
Hood’s deposition?

Plaintiff answers, “Yes.”

3. Is Plaintiff entitled to an award of her attorneys’ fees, costs, and any
other allowable relief under the Court Rules for having to bring this Motion?

Plaintiff answers, “Yes.”

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Case 2:14-cv-11916-GCS-SDD ECF No. 30, PagelD.589 Filed 03/31/15 Page 13 of 16

INDEX OF AUTHORITIES

Cases Page

Watkins v. New Albany Plain Local Sch.,
No. 2:08-CV-0134, 2010 WL 910256, at *2
(S.D. Ohio Mar. 10, 2010) oo... cecccsescssecsseeeessesseeseeseeseesssesaeessesseeeseessesseeees 7

ili
Case 2:14-cv-11916-GCS-SDD ECF No. 30, PagelD.590 Filed 03/31/15 Page 14 of 16

BRIEF IN SUPPORT OF PLAINTIFE’S MOTION TO ENFORCE
SUBPOENA, EXTEND DISCOVERY FOR THE SOLE PURPOSE OF
TAKING JILL HOOD’S DEPOSITION, AND TO COMPEL HER
ATTENDANCE AT THAT DEPOSITION

NOW COMES Plaintiff Natalie Reeser, by and through her attorneys,
MILLER COHEN, P.L.C., with her Brief in Support of her Motion to Enforce
Subpoena, Extend Discovery for the Sole Purpose of Taking Jill Hood’s Deposition,
and to Compel Her Attendance at that Deposition, and states as follows:

Plaintiff relies on her Motion in support.

WHEREFORE Plaintiff is requesting that Jill Hood be ordered to appear for
her deposition on May Sth and provide documents described in the subpoena duces
tecum, that discovery be extended to allow for Ms. Hood’s deposition, and that costs

and sanctions be awarded for Plaintiff being forced to file this Motion.

Respectfully submitted,
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Dated: March 31, 2015
Case 2:14-cv-11916-GCS-SDD ECF No. 30, PagelD.591 Filed 03/31/15 Page 15 of 16

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN

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/

CERTIFICATE OF SERVICE

I hereby certify that on March 31, 2015, 1 electronically filed the foregoing
document(s) with the Court using the ECF system, which will send notification of

such filing to all counsel of record.
Case 2:14-cv-11916-GCS-SDD ECF No. 30, PagelD.592 Filed 03/31/15 Page 16 of 16

Respectfully submitted,

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Dated: March 31, 2015
